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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW HAMPSHIRE
KKK KAR KE KKK REAR KEKE KEK KKK KEK KH KKK
JENNIFER ARTESI
VS NO: 1:19-CV~-00214-sM
DEMOULAS SUPER MARKETS, INC., d/b/a MARKET BASKET

and DENNIS LABATTE

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DEPOSITION OF MANDY BARNUM
This deposition taken by agreement of counsel
at the New Hampshire Bar Association, 2 Pillsbury
Street, Concord, New Hampshire, on

February 24, 2020, commencing at 9:00 a.m.

 

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on and did other positions, correct?

Yes.

So when Jennifer went out again around
December 30 of 2016, for several weeks, who
filied in her -- who worked her hours?

The same person.

So that person -- so you were able to cover
Jennifer's job duties adequately?

Yes.

And in fact, it was the same amount of
wrapping able to be done because you had
basically a floater person?

Yes.

And when Jennifer came back, was anyone else
hired in the department right before March of
2017 when she tried to come back to work?
No.

Okay. So you had the same part-time people
that you had in the fall of 2016?

Yes.

Who was that extra part-time person that had
been hired?

I don't remember.

 

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Was that person -~- you are not there anymore?
No.

Was that person there when you left?

I don't remember.

Okay. But there is no hardship to your
department? You were able to stay
appropriately staffed?

No, definitely not.

Definitely not what? It wasn't a hardship?
We were hurting for help, if that is what you
mean, with her gone.

Okay. But you were able to fill in with a
part~time person?

Right, but they don't do the same amount of
work as she could, with the knowledge that she
had.

Okay. So it would be good for her to get back
to work?

Yes.

And even when she tried to come back to work,
it would have been good for you to have her
back, correct?

Yes.

 

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So when did you leave the Somersworth store --
she tried to come back in March of 'i?7.

How much longer were you there?
I don't remember.
So it is three years ago, approximately?
Yes.
So working backwards, how long have you been
at your current store, Seabrook?
I have been at Seabrook since Labor Day of
2018.
And that was your next store after
somersworth?
Yes,
So you would have been through '17 and most of
18?
Yes.
So approximately a year and three quarters?
Yes, approximately.
During that year and three quarters -- well,
let's go to the first year.

From March of '17 for the rest of
that calendar year, did you hire -- did anyone

else get hired into produce to assist with

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wrapping?
Yes.
And when was that person hired?
They actually transferred a full-time wrapper
to me once she was gone.
So would that have been April, May of '17?
I don’t remember which exact month.
It was definitely after she was terminated on
or about March 6 of '17?
Yes.
Where did that person transfer?
MS. FEENEY: From?
From, thank you,
She came from Plaistow.
Plaistow?
Yes.
Had she had experience wrapping?
Yes.
So do you know how they replaced her from the
store she came from?
She got promoted to full-time coming to me.
So she was part-time before?

Yes.

 

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Is there any lower cut-off, like 32 and above
or 40 and above?
it is 40.
Did you, when you worked in the Somersworth
store, how many people did you supervise,
approximately?
Approximately, I want to say 20.
Now, is Market Basket open 24 hours a day?
No.
What are your general store hours you are
open?

MS. FEENEY: Somersworth or
Seabrook?
Somersworth?
Somersworth, they are open from 7 a.m. to 9
p.m. Monday through Saturday. Sunday 7 a.m.
to 7 p.m.
So in your opinion, if Ms. Artesi had been
allowed to come back in March of 2017, you
would have been happy to have her back?
Yes.
Now, where did you think she was after

December 30, what had you heard about why she

 

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Yes.

But that doesn't, as far as you understand,

appiy when people bring in medical notes and

have a medical reason for being out?

Right.

Have you ever known anyone to have been on

FMLA leave that was terminated for not

returning soon enough?

No.

Are you aware of people who have been out

longer than 12 weeks on FMLA -- strike that.
Have you been aware of people that

had FMLA leave that exceeded the 12 weeks that

came back and were not terminated?

Yes.

Let me take a minute here, and look at my

notes. I don't think we need to take a break.
I am going to show you these time

cards.

MS. JOHNSON: Can you mark this as

(Whereupon, the court reporter

marked Exhibit Number 2, Time cards, for

 

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